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                       UNITED STATES DISTRICT COURT

                 FOR THE EASTERN DISTRICT OF LOUISIANA


CATHERINE BROWN                                          CIVIL No.       21-1844

versus                                                   JUDGE:           JTM

MINYANGO TOKPAH, SHAKIM HARRIS,                          MAGIS:           JVM
TANISHA WRIGHT, ANDREA MICHELLE
STEWART, JONTE MILLER, and
THERESA D. BRUNSON


First Supplemental and Amending Complaint/Petition for Damages
         with related Request for Preliminary Injunction,
                    Contradictory Hearing, and
                   Temporary Restraining Order


    The First Supplemental and Amending Complaint/Petition for Damages of

CATHERINE BROWN, a person of the full age of majority and a domiciled in the

State of Delaware, and a frequent and part-time resident of the State of Louisiana,

who brings this litigation for immediate relief pursuant to federal law, as well as for

her civil claims related to her damages, losses, and injuries directly related to the

named and unnamed defendant individuals’ and entities’ continual and ongoing

pattern of cyber stalking, harassment, defamation, threats to her life and safety,

and other cyber and online harassment, such crimes and civil tortuous acts

committed by those defendants as described below, and which includes repeated

and continuous episodes of these intimidation and threats that are both federal and

state crimes, as well as civilly tortuous acts of the defendants, MINYANGO TOKPAH,



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SHAKIM HARRIS, TANISHA PRICE, ANDREA MICHELLE STEWART, JONTE

MILLER, and THERESA D. BRUNSON, as well as by those unnamed defendants

described below, said acts which began in the month of October, 2020 and

commences and has repeatedly plagued, upset and damaged Petitioner through this

date of October 7, 2021, and with many of these episodes experienced and endured

by Petitioner CATHERINE BROWN while residing in the Eastern District of

Louisiana, said locations included within the district of this Court.

     Petitioner files here her amending Complaint to remove any errors contained in

her original filing in order to clarify that 1.) there exists complete Diversity Jurisdiction

here; 2.) to remove as party defendants any LLC or company that may include non-

diverse persons or parties: and 3.) to clarify the basis of her claims and the proper

basis to proceed in this Court.

     Petitioner, as soon as practicable, respectfully requests that this Court

issue orders imposing upon all concerned a Preliminary Injunction estopping and

prohibiting the named defendants, and all associates and affiliates of the named

defendants, from their continuing pattern of intentional continual and ongoing pattern

of cyber stalking, harassment, defamation, threats to her life and safety, and other

cyber and online harassment, which are in violation of several Federal and State of

Louisiana laws, and that as soon as also practicable, that this Court schedule a

Hearing and Rule to Show Cause as to why a Temporary Restraining Order, and/or

Injunction not be granted.

                             STATEMENT OF JURISDICTION

     The Jurisdiction for this litigation to proceed in this Court is Diversity



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Jurisdiction, as Petitioner and all defendants are domiciled, and reasonably believed

domiciled, in separate States, as delineated below.

    Additionally, while the emphasis of the Petitioner’s claims involve state law tort

claims exceeding a quantum value of $75,000.00 and involving complete diversity of

citizenship of the plaintiff and all defendants, many defendants are alleged here in

violation of the federal criminal statute known as the Violence Against Women Act

(“VAWA”) of 2005, as amended in 2013, 42 USC 136, (§§ 13925-14045), and

Petitioner in good faith seeks civil damages and relief from this Court in this Civil

proceeding seeking that these defendants be ordered to cease continuation of

violations of that federal statute per Court order, given the urgency that these threats,

extortion and harassment of her be immediately stopped and prohibited, and that

after immediate determination of her claims seeking immediate relief, that her claims

in tort for the damages incurred then proceed. Petitioner seeks both immediate

relief and general civil proceedings against all defendant, pursuant to all other

applicable federal laws and criminal and civil codes, as well as all other applicable

State of Louisiana criminal and civil laws and statues governing the claims and relief

sought by Petitioner here.

      Petitioner is legally domiciled in the State of Delaware, and is a frequent

and part-time resident of the State of Louisiana – where she was made to endure

and witness many of her being attacked, assaulted and threatened while in residing

in Louisiana and within this Court District on dates occurring within the time period of

October 1, 2020 through this date of filing. Petitioner’s request for injunctive relief, as

well as her claims, for civil claims here all related to her damages, losses, and



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injuries directly related to the defendants’ continual and ongoing pattern of cyber

stalking, harassment, defamation, threats to her life and safety, and other cyber and

online harassment, such crimes and civil tortuous acts committed by those

defendants as described below

     Petitioner seeks from this Court, in all fairness and equity, a Preliminary

Injunction estopping and prohibiting the named defendants, and all associates and

affiliates of the named defendants, from their continuing pattern of intentional

continual and ongoing pattern of cyber stalking, harassment, defamation, threats to

her life and safety, and other cyber and online harassment, which are in violation of

several Federal and State of Louisiana laws, and that as soon as also practicable,

that this Court schedule a Hearing and Rule to Show Cause as to why a Temporary

Restraining Order, and/or Injunction not be granted.

       Petitioner additionally and in Good Faith asserts here that the quantum value

of her civil claims do exceed the $75,000.00 threshold necessary for United States

District Court jurisdiction, in this diversity jurisdiction set of claims.

                                               I.

       The following are made and maintained as defendants in this suit and are

indebted unto your petitioner jointly, severally, and in solido for such damages as are

reasonably equitable, together with legal interest thereon from the date of judicial

demand until paid:



   A. MINYANGO TOKPAH, a person reasonably believed of the full age of majority

       and also reasonably believed known as or conducting business as “Poetik



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   Flakko Media”, and/or “Poetik Flakko”, and/or any other business, believed

   located and domiciled within the State of North Dakota, and more particularly

   at the address of 102 5th Street E, West Fargo, ND 5807, and the person

   who personally, or through others affiliated with himself or his business,

   intentionally the continual and ongoing pattern of cyber stalking, harassment,

   defamation, threats to Petitioner’s life and safety, and other cyber and online

   harassment, such crimes and civil tortuous acts committed by those

   defendants as described below;

B. SHAKIM HARRIS, a person reasonably believed of the full age of majority

   believed located and domiciled within the State of Michigan, and more

   particularly at the address of 15488 Winston Street, Redford, Michigan

   48239, and the person who personally, or through others affiliated with

   himself or his business, intentionally the continual and ongoing pattern of

   cyber stalking, harassment, defamation, threats to Petitioner’s life and safety,

   and other cyber and online harassment, such crimes and civil tortuous acts

   committed by those defendants as described below;

C. TANISHA WRIGHT, and also reasonably believed known as TANISHA

   SMITH-PRICE, and/or TANISHA PRICE, and/or “TPRI”, a person reasonably

   believed of the full age of majority, believed located and domiciled within the

   State of Pennsylvania, more particularly 5929 Windsor Avenue, Philadelphia,

   PA 19143, based upon Google address searches and this defendant’s own

   Facebook postings made by the this defendant as recently as October 10,

   2021. Still other recent postings have her residing in the City of Harrisburg,



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   PA. This defendant is also known as or conducting business as “TPRI”

   and/or any other business, all and the person who personally, or through

   others affiliated with herself or her business, intentionally the continual and

   ongoing pattern of cyber stalking, harassment, defamation, threats to

   Petitioner’s life and safety, and other cyber and online harassment, such

   crimes and civil tortuous acts committed by those defendants as described

   below;

D. ANDREA MICHELLE STEWART, a person reasonably believed of the full

   age of majority, believed located and domiciled within the State of California,

   and more particularly believed located 2840 FLETCHER PARKWAY, # 323,

   El Cajon, CA 92020, and also known as or conducting business as the “ANTI

   AFRICAN SVENGALIS” and/or the “Anti Afro Svengalis Channel”, a YouTube

   or Internet online broadcast channel, and/or any other business, all, and the

   person who personally, or through others affiliated with herself or her

   business, intentionally the continual and ongoing pattern of cyber stalking,

   harassment, defamation, threats to Petitioner’s life and safety, and other

   cyber and online harassment, such crimes and civil tortuous acts committed

   by those defendants as described below;

E. JONTE MILLER, a person reasonably believed of the full age of majority,

   believed located and domiciled within the State of North Carolina, and more

   particularly believed located 2006 Cedar Fork Road, Apartment “E”,

   Greensboro, NC 27407-4591, and also known as or conducting business as

   the “SMOKEGOD” a YouTube or Internet online broadcast channel, and/or



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      any other business, all, and the person who personally, or through others

      affiliated with himself or his business, intentionally the continual and ongoing

      pattern of cyber stalking, harassment, defamation, threats to Petitioner’s life

      and safety, and other cyber and online harassment, such crimes and civil

      tortuous acts committed by those defendants as described herein;

   F. THERESA D. BRUNSON, a person reasonably believed of the full age of

      majority, believed located and domiciled within the State of Pennsylvania, and

      more particularly believed located 6101 Limekiln Pike, Suite 1000, Giving of

      Self Partnership Building, Philadelphia, PA 19141, and also known as or

      conducting business as the “THE GOOD GUYS”, a YouTube or Internet

      online broadcast channel, and/or any other business, all, and the person who

      personally, or through others affiliated with herself or her business,

      intentionally acted to incite or further the continual and ongoing pattern of

      cyber stalking, harassment, defamation, threats to Petitioner’s life and safety,

      and other cyber and online harassment, such crimes and civil tortuous acts

      committed by those defendants as described below;



   The following are noticed here and named as “actors” illegally and the continual

and ongoing pattern of cyber stalking, harassment, defamation, threats to Petitioner’s

life and safety, and other cyber and online harassment, such crimes and civil

tortuous acts committed by those defendants as described below. These actors are

specifically not named here as defendants as their respective individual identities are

unknown, and including them as actual defendants, particularly any LLC, may or may



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not include non-diverse defendants. Petitioner seeks a Court Order immediately

prohibiting continued online harassment, threats and defamation from the named

defendants, as well as these non-defendant, aliased actors, and identifies these

actors as known to her at this time as follows:



   1) ANTI FRAUD WARRIORS, LLC, a California Limited Liability Corporation,

      believed located and domiciled within the State of California, and more

      particularly believed located at 2840 Fletcher Parkway, #323, El Cojin, CA

      92020, a YouTube or Internet online broadcast channel, and the person(s)

      who personally, or through others affiliated with this LLC business,

      intentionally acted in the continual and ongoing pattern of cyber stalking,

      harassment, defamation, threats to Petitioner’s life and safety, and other

      cyber and online harassment, such crimes and civil tortuous acts committed

      by those actors aligned with the named defendants as described below, and

      which includes episodes of these crimes and tortuous acts of the actors

      aligned with the named defendants, which began in the month of October,

      2020 and commences and has repeatedly plagued, upset and damaged

      Petitioner through this date of October 5, 2021, in violation of both Louisiana

      state and federal law as explained below:

   2) Aliased-named actors aligned with the named defendants, “THE GOOD

      GUYS”, “TCTV”, “GHOST”, “GOOD GUY”, “SLANDERGOD”, “POSITIVELY

      HATE”, “THE ORACLE”, “SPOT3M SHOT3M”, “SCARLIT”, “GENERAL D”,

      and “BLACK LOUNGE ENTERTAINMENT”, ANY UNIDENTIFIED



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 INDIVIDUAL DEFENDANTS, all alias-named persons and/or entities or

 groups of persons, heretofore unidentified, all reasonably believed of the full

 age of majority and/or also known as or conducting business as in heretofore

 aliased named identities, and/or any other businesses or individuals, to be

 determined as discovery against existing named defendants commences,

 many of these aliased-named defendants whom are affiliated and connected

 to above actual named defendants, as reasonably believed by Petitioner due

 to their own admitted online and public statements both broadcast on

 YouTube channels and/or posted in comments online in various venues, with

 these defendants’ described alignments with actually named defendants, as

 well as by their own public internet postings, all whom who personally, or

 through others affiliated with herself or her business, through numerous

 public online postings and YouTube broadcasts have since October, 2020

 through this date of October 7, 2021 have in numerous online broadcasts

 and postings have intentionally engaged in the continual and ongoing pattern

 of cyber stalking, harassment, defamation, threats to Petitioner’s life and

 safety, and other cyber and online harassment, such crimes and civil tortuous

 acts committed by those defendants as described below, and which includes

 episodes of these crimes and tortuous acts of the defendants, which began in

 the month of October, 2020 and commences and has repeatedly plagued,

 upset and damaged Petitioner through this date of October 12, 2021, in

 violation of both Louisiana state and federal law as explained below.

                                      II.



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      On or about October 1, 2020, your petitioner CATHERINE BROWN,

a resident and domicile of the State of Delaware and a part time resident of the State

of Louisiana, began and was made to suffer a continual and ongoing pattern of on-

line, You Tube, e-mail and other cyber stalking, harassment, defamation, threats to

her life and safety, often racial based criticisms, threats and attacks upon her, as well

as other cyber and online harassment, such crimes and civil tortuous acts committed

by those above-named defendants, including but not limited to all individually-named

and identified defendants MINYANGO TOKPAH, SHAKIM HARRIS, TANISHA

PRICE, ANDREA MICHELLE STEWART, JONTE MILLER, and enabled or

advanced by defendant THERESA D. BRUNSON, by those aforementioned

defendants, the unnamed actors aligned with the named defendants described

herein, who are expected to be identified and named here after discovery

commences, as well as any or all defendants’ associates and affiliates named or

unnamed here, as well as to-be-identified actors aligned with the named defendants

committing illegal and tortuous acts, including but not limited to “ANTI-FRAUD

WARRIORS, LLC”, “TCTV”, “GHOST”, “GOOD GUY”, “SLANDERGOD”,

“POSITIVELY HATE”, “SPOT3M SHOT3M”, “THE ORACLE”, “GENERAL D”,

“SCARLIT” and “BLACK LOUNGE ENTERTAINMENT”, as well as all of their

associates and entities identified or not yet identified, all conducting such criminal

and civil violations as described herein, which the Petitioner seeks immediately

stopped via this litigation, and eventually seeks recovery for damages of herein.

     Your Petitioner has been continuously and repeatedly plagued, upset and

damaged by these online cyber attacks and stalking, which appear coordinated and



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related attacks and assaults upon her by the above-named defendants and actors

aligned with the named defendants, occurring upon Petitioner while at her home in

Delaware, while travelling out of state, and while Petitioner was and is visiting

Louisiana during her frequent visits and part-time residence in this state on those

extended periods described herein. Petitioner has been made to suffer severe and

ongoing levels of upset and mental trauma related to these continuing and frequent

threats and assaults upon her, made via these online threats and assaults and

defamation upon her, continuing through this date of October 12, 2021.

    Most particularly, a great portion of these episodes of threats, assaults

and defamation were experienced and endured by Petitioner CATHERINE BROWN

on the dates of December 19, 2020 through January 5, 2021, April 2, 2021 through

July 5, 2021, and July 27, 2021 through August 22, 2021, while she was residing in

the Eastern District of Louisiana, said locations of within Orleans Parish that are

included within the district of this Court.

      The background and explanation of the Petitioner’s claims and request for

judicial relief here are as follows:

     The defendants, as well as actors aligned with the named defendants are

essentially on-line, internet groups individuals and groups that have used the well

known You Tube Channel on-line broadcasts to threaten, harass and intimidate –

including specific threats of injury, assault, death and sexual assault - your Petitioner.

These actors aligned with the named defendants include but are not limited to “The

Anti Fraud Warriors, LLC” (“AFW”) who are actually a limited liability corporation

named defendant herein, as well as other Aliased-named actors aligned with the



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named defendants “THE GOOD GUYS”, “TCTV”, “GHOST”, “GOOD GUY”,

“SCARLIT”, “SLANDERGOD”, “POSITIVELY HATE”, “SPOT3M SHOT3M”, “THE

ORACLE”, “GENERAL D”, and “BLACK LOUNGE ENTERTAINMENT”, that have

also all used the well known You Tube Channel on-line broadcasts to threaten,

harass and intimidate your Petitioner.

     The actor AFW have individuals affiliated with them who pay other individual

actors known as “Good Guys” to harass others, such as your Petitioner. Petitioner

reasonable believes that payments are made to the individual actors, known in the

parlance of the internet as “Mercenaries”, with these actors believed by Petitioner

here to receive compensation or payment for their attacks upon her via online

transfer or cash payment “apps”, by those seeking to harass or threaten others with

buffers protecting their accountability for same. Petitioner, through her personal on-

line research statements of defendants and actors aligned with the named

defendants named here, their statements and comments online personally witnessed

by Petitioner, as well as her own investigations following the ongoing threats made to

her by these actors, believes that the defendants and actors “AFW” and “The Good

Guys” are opponents of and/or former supporters of Pan African Activist, Dr. Umar

Johnson, and that the AFW and Good Guys have political or policy disagreements

with, and are now aligned against Dr. Umar Johnson, whom they accuse publically

and claim that the Petitioner is now supportive of. The actor AFW in their online

postings and broadcasts repeatedly claim that Dr. Umar Johnson is a scammer or

some type of fraudulent enemy of the Black community, and in their online postings

and attacks upon the Petitioner, these defendants publically through their YouTube



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broadcasts claim that the Petitioner, herself an African-American female, is an

affiliate of Dr. Umar Johnson, and therefore by extension is aiding or supporting an

enemy of the Black Community.

      Petitioner reasonably believes that actor The Good Guys are accepting

pay to harass, defame and publicly humiliate any individual that might support or

sympathize with Dr. Umar Johnson, and believes that may at least in part motivate

the attacks and threats against her. These defendants’ and actors’ aligned with the

named defendants tortuous acts, both criminally and tortuously threatening and

defaming Petitioner in violation of federal and state law, include their online postings,

broadcasts and threats against your Petitioner are these (believed affiliated, or

coordinated, or “Mercenary”) defendant online individuals, entities, or groups, and

the individuals Petitioner believes are related thereto, with those incidents including

the following:

                                             III.

      Defendant MINYANGO TOKPAH, also known as “Poetik Flakko”,

is an online actor that to Petitioner’s understanding has used several aliases,

including “Federick Jallah”. This defendant is reasonably believed from his online

broadcasts and comments to be a founder of the defendant-aligned entity or online

group “The Good Guys” internet troll (harassment) group, who constantly posts

YouTube vitriol and hate attacks against your Petitioner, often claiming her to be

insufficiently pro-African American, and threatening her for same.

This defendant is believed to be an immigrant from Africa, who constantly posts hate

attacks against your Petitioner, often claiming her to be insufficiently pro-Pan African



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American, and threatening her for same. This defendant actor is believed by

Petitioner to utilizes his access to software as a Financial Industry employee to look

up an online targeted individual’s private information (criminal histories, credit

histories, home addresses, employment information, children’s information, spouses’

information, i.e. spouses’ employment locations, children’s schools, children’s

addresses), and use this information within his threats against certain targeted

person, and has done so to threaten, harass, and intimidate your Petitioner.

    Defendant MINYANGO TOKPAH is believed by Petitioner, because of his explicit

threats and harassment of her, to be dangerous and a real danger to your Petitioner,

as in the pertinent time period (October, 2020 through the present date) this

defendant has explicitly and repeatedly sexually threatened and bullied the Petitioner

in online YouTube broadcasts and comments, which she believes due to this

defendant’s comments were conducted on behalf of defendant TCTV. Part of this

defendant actor’s online harassment and threats to Petitioner also include his having

called her a “funky pussy hoe” and other explicit sexually-involved insults, and this

defendant has also posted defamatory and untrue claims online that the Petitioner’s

non-profit corporation is a fraudulent effort and a “scam”. These postings have

defamed your Petitioner and have attempted to undermine her ability to maintain her

non-profit corporation and efforts, and have defamed her to other potential donors

and colleagues.

     Petitioner believes that this actor MINYANGO TOKPAH either currently works

for or has worked for a debt collection organization or law firm with specialized

access to individuals’ personal information. Petitioner reasonably believes from



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information publicly revealed by this defendant that he does have access to her

personal information as the defendant appears to have previously contacted

Petitioner’s relatives for Debt Collection, and it is believed that this actor has used

assets involved with this Debt Collection law firm to gather information and use that

information to attack the Petitioner and her family.

     This defendant actor’s venues for internet threats and defamation to your

Petitioner were conducted upon the popular YouTube internet online broadcast

venue. This defendant MINYANGO TOKPAH regularly uses the YouTube Channels

of “Poetik Flakko” and “Poetik Flakko Media”, as well as formerly “Poetik Flakko

Reactions” (this defendant was believed to have changed YouTube channel names

as he realized that Petitioner was going to take action against his tortuous and illegal

online behavior. Petitioner reasonably believes, due to this defendant’s explicit

online postings and threats directed at her, that this particular defendant actor is very

dangerous and presents a serious danger to her health and well being, and also

believes that this defendant actor is performing these tortuous acts and threats in

affiliation and/or on behalf of the defendant-aligned entity “THE GOOD GUYS”, given

his posted statements and hints included within his previous online postings and

comments. Several incidents involving this defendant actor include the following:

      On or about June 4, 2021, Petitioner was made to witness online chat room

postings by defendant MINYANGO TOKPAH (as Poetik Flakko) where he stated that

he had stalked Petitioner by his looking up her personal information and calling her

business associates and affiliates, despite his having no legal reason to do so, and

with this defendant then posting online that he would post her personal information



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online to damage your Petitioner if she properly reported this defendant or other’s

threats against her to law, as well as their sexual bullying, insults and defamation of

her to law enforcement authorities.

     Again on June 4, 2021, Petitioner downloaded chat records will show that

defendant MINYANGO TOKPAH not only admitted to stalking her, cyber-stalking her,

and invading Petitioner’s privacy.

      Petitioner also asserts here that she has video evidence dated August 1, 2021,

of this actor, MINYANGO TOKPAH posting as Poetik Flakko, threatening an 11 year

old child. This actor also has posted the child’s picture online in several different on

several panels, and has made anti-gay slurs against the child on You Tube public

broadcast channels, there calling the minor child a “faggot”, “gay” and other slurs.

Per additional saved video evidence dated August 1, 2021 and saved snapshots of

this defendant’s comments dated during the month of August, 2021, this actor has

also online threatened to have sex with a targeted man’s six year old daughter.

      On, this same defendant MINYANGO TOKPAH sexually

bullied your Petitioner in a publicly accessible live stream that he broadcast online in

video, stating “Catherine Brown wants to fuck. She wants to fuck TCTV.” This

defendant also stated that date of May 24, 2021 in other online postings that he is

the actual reason why Petitioner filed criminal complaints against defendant TCTV

and had complained to YouTube about TCTV using their online platform to sexually

ridicule and upset her, to bully her and to humiliate her, which these postings did

accomplish.




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     Defendant MINYANGO TOKPAH is believed by Petitioner, because of his

explicit threats and harassment of her, to be dangerous and a true danger to your

Petitioner, as in the pertinent time period (October, 2020 through the present date)

has explicitly and repeatedly threatened and has sexually bullied the Petitioner

online, which she believes was conducted on behalf of defendant TCTV, per video

evidence dated May 29, 2021. Per downloaded chat evidence, dated May 29, 2021,

part of this defendant actor’s online harassment and threats to Petitioner include his

having called her a “Stank Pussy Hoe (whore)” and other explicit sexually-involved

insults, and he has repeatedly also posted defamatory and untrue claims online that

the Petitioner’s non-profit organization is a fraudulent effort and a “scam”. These

public postings have defamed your Petitioner and have undermined her ability to

maintain her non-profit corporation and efforts, and have defamed her to other

potential donors and colleagues.

     This defendant/actor MINYANGO TOKPAH’s (as Poetik Flakko) regular

venues for internet threats and defamation to your Petitioner were conducted upon

the following his Discord platform and his YouTube internet YouTube Channels of

“Poetik Flakko” and “Poetik Flakko Media”, “King Talk Entertainment” and other

“Good Guy” owned channels as well as formerly “Poetik Flakko Reactions” (this

defendant was believed to have changed channel names once he realized that

Petitioner was going to take action against his tortuous and illegal online behavior.

Poetik Flakko also uses the public online broadcast and posting venues of Discord,

FaceBook and YouTube to torment his targeted victims, while also appearing on

defendant TCTV’s public online broadcast Rumble channel to do the same.



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      Petitioner sincerely believes that this particular defendant actor MINYANGO

TOKPAH very dangerous and presents a serious danger to her safety, health and

well being, and also has reason to believe that this defendant actor, is performing

these tortuous acts and threats in affiliation and/or on behalf of the defendant-

aligned entity “THE GOOD GUYS”, given his and others’ similar threats and

statements, as well as this defendant’s particular statements and hints included

within his previous online postings.

     Per downloaded video evidence, dated September 23, 2021, defendant

MINYANGO TOKPAH repeatedly stated online about stalking and threatening his

enemies, and has posted actual photographs online of him purported to be at or near

the homes of persons which he publicly claims to be stalking. Given the vile nature,

the duration and intensity of this defendant’s online attacks upon her, Petitioner

sincerely believes that this defendant is a real threat to her and her family’s safety

and well being, and seeks Court relief to protect her by ordering this defendant and

other defendants to discontinue these threats and harassment, and further seeks

compensation in tort as appropriate for all damages and other awards found

appropriate here.

      Defendant MINYANGO TOKPAH is believed by Petitioner, given information

revealed by him in online broadcasts and postings, to utilize his access to software

as a Financial Industry employee to access online several targeted individual’s

private information, including your Petitioner and her family members’ criminal

violation or litigation histories, credit histories, home addresses, employment

information, children’s information, spouses’ information, (i.e. spouses’ employment



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locations, children’s schools, children’s addresses), and use this information within

his threats against certain targeted persons – including here your Petitioner, and has

done so to threaten, harass, and intimidate your Petitioner. Petitioner due to online

postings and comments witnessed by herself firsthand, does believe that this

defendant, as well as his associates, possesses the personal addresses and

information regarding herself and her family, and believes this defendant to pose a

true danger to herself and family.

    In video evidence dated June 12, 2021 and June 25, 2021, defendant

MINYANGO TOKPAH broadcast online the details of the living arrangements of a

handicapped, older male online harassment target of defendant-aligned “THE GOOD

GUYS” and their internet aligned trolls (this included the target’s parents). This is

supported by saved video evidence. As per the above stated video, defendant

MINYANGO TOKPAH’s doxing efforts are broadcast personal information about

their targets, of anyone (and their children) who are listed at the address and made

public for anyone to access and use to stalk or threaten targets that are chosen for

such treatment by these defendants to harass, cyberstalk, or worse. Given defendant

MINYANGO TOKPAH’s access to information of his targets, and his exhibited

behavior in threatening and using that access to private information as admitted by

this defendant, the Petitioner fears for her personal safety, her reputation, and that of

her family and business associates.

      In video evidence dated September 8, 2021, defendant MINYANGO TOKPAH

threatened a target telling this target by name, in an online broadcast and comment

stating plainly “WE” have your address information. On or about May 22, 2021, this



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defendant, posting again online as Poetik Flakko, on the live stream YouTube

internet Channel broadcast, video titled “How The Good Guy Can Recover”, this

defendant explicitly threatening Petitioner’s life, by verbally encouraging fellow

defendant-aligned entity TCTV (another YouTube channel owner) should “make her

pay in blood” for having TCTV’s YouTube broadcast channels deleted for properly

reporting to YouTube and/or law enforcement authorities that the defendant TCTV

had publicly sexually bullied Petitioner. The defendant also referred to the

Petitioner’s mother’s house, her grandmother’s house and stated again that

someone should make her (the Petitioner) “pay in blood”. These public threats

against the Petitioner are well documented with YouTube saved video.

     Per video evidence dated October 3, 2021, Poetik Flakko made an open threat

to publish personal information of anyone who defies him. He also boasted of his

previous threats to others regarding publishing their personal information online to

put their families at risk.

    Further, per video evidence dated May 29, 2021, the defendant MINYANGO

TOKPAH’s broadcasts and comments provide reasonable basis for the Petitioner to

believe that this defendant in fact does has access to her and her family member’s

personal information and home and employment addresses through HIS

employment with a Debt Collection law firm or organization, and that given the

defendant’s possessing this information in addition to his intense hatred and vitriol

against your Petitioner as evidenced by his online broadcasts, makes his threats to

your Petitioner to be real threats, and not idle threats.

                                             IV.



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      Defendant SHAKIM HARRIS is an online actor that has threatened violence

against your Petitioner and others. The defendant, SHAKIM HARRIS, also known as

“SHEKEM RA”, is a based upon his online comments and postings to be a former

member of defendant entity “The Good Guys”, and this individual defendant is

believed by Petitioner, voted out of that group, on the basis of numerous online

comments by others, and this defendant SHAKIM HARRIS is reasonably believed to

now have control of numerous affiliated and aligned internet “trolls”, (aligned online

posters).

      This particular defendant SHAKIM HARRIS has made a false online statement

that your Petitioner gave him cash apps for his content, in saved video internet

broadcasts dated September 23, 2021. This type of online posting and false

statement is threatening and dangerous to your Petitioner, as defendant SHAKIM

HARRIS has been attacking the “Good Guys” online in his own postings, and as both

defendants are volatile and threatening, any retribution sought by any one defendant

or the other involving their violent threats and disputes could endanger your

Petitioner if she is seen by one to be aligned or supportive of the other defendant,

which she is not. This then includes a video posting dated September 23, 2021,

where defendant POETIK FLAKKO stated there that he had filmed himself going to

the home of SHEKEM RA to attack him.

     In video dated September 23, 2021, defendant SHAKIM HARRIS, posting as

“SHEKEM RA”, in rebuttal to POETIK FLAKKO’S video of himself at SHEKEM RA’s

home, SHEKEM RA brandished a loaded shotgun to threaten POETIK FLAKKO for

coming to his property and even stated his address for POETIK FLAKKO to have the



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proper information as SHEKEM RA stated that POETIK FLAKKO was at SHEKEM

RA’S father’s home rather than his own. This is evidence of defendant SHAKIM

HARRIS’ volatility and dangerousness, which rightly upsets Petitioner’s safety and

peace of mind when considering his previous disagreements with Petitioner, his false

accusations and statements involving the Petitioner, and this defendant’s threats to

others online.

      This false accusation posted by this defendant claiming that your Petitioner is

giving money to SHEKEM RA in support of his online attacks against the “Good

Guys” for being excluded from that group, creates a false and dangerous perception

that the Petitioner is funding attacks upon and complaints against the “Good Guys”,

and could well foment their members or affiliates to attack, endanger or injure your

Petitioner for retribution against her as threatened online by many like-minded actors

in the past.

                                            V.

      Defendant TANISHA WRIGHT, also known as “TANISHA SMITH-PRICE”, also

known “TANISHA PRICE” is an online actor that to Petitioner’s understanding has

used several aliases, including “TPRI”. The events and episodes dates involving this

defendant’s threats, defamation and damaging internet posts involving the Petitioner

are as follows:

       Defendant BLACK LOUNGE ENTERTAINMENT, also known as “TANISHA

WRIGHT-PRICE, also known as “TPRIZ”, is an online actor, either individual or

entity. Petitioner reasonable believes, by internet broadcasts and postings by this

defendant actor, that this defendant is an African-American female, who online uses



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the alias of “TPriz” or “TPri”. This defendant actor has repeatedly attacked and

defamed your Petitioner, by name, spreading Hate-Based attacks upon her intending

to incite hatred of Petitioner by falsely claiming that the Petitioner targets and falsely

attempts to have Black men arrested and prosecuted, while connecting these false

claims against your Petitioner to other, well-publicized unrelated negative or media-

focused Police interactions with Black men, a pointed attempt to generate and to

foment anger and additional harassment and threats against your Petitioner.

      These false and dangerous internet postings by this defendant actor puts

Petitioner at risk from others that could be motivated to injure or hurt Petitioner with

the false belief that Petitioner is intentionally acting to file and injure Black men by

filing false police reports against Black Men.

   On May 24, 2021, defendant TANISHA WRIGHT made false claims in online

comments concerning the Petitioner blaming her for reporting other online attackers

to law enforcement and YouTube authorities, falsely posting such claims concerning

your Petitioner in order to intimidate her from going to the police in response to her

being harassed, threatened and defamed online by this defendant and other actors.

Defendant TANISHA WRIGHT stated online that the police were not concerned with

your Petitioner’s complaint, whereas the police were actively involved in obtaining the

necessary search warrants to obtain videos to support your Petitioner’s complaint

and in contact with your Petitioner often.

      On numerous occasions over the year 2021, defendant TANISHA WRIGHT

made online postings and broadcasts falsely claiming that it was the Petitioner that

was producing and making multiple hateful and inciting YouTube broadcasts and



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postings as YouTube broadcaster “Anti Afro Svengalis”, falsely blaming Petitioner for

these posts when this defendant knew this to be untrue.

    Defendant TANISHA WRIGHT has sat on several of the “Good Guys” online

chat room panel on an active campaign (along with another defendant-aligned entity,

TCTV) to intimidate, incite hatred against and to harass your Petitioner for seeking

police protection against the “Good Guys”, on an online panel dated May 24, 2021.

       On video dated May 24, 2021, Defendant TANISHA WRIGHT cyber attacked

your Petitioner for going to police and mentioned to viewers that your Petitioner put

“Black men” at risk of harmful police interaction for your Petitioner seeking police

protection. In video dated July, 24, 2021, Defendant TANISHA WRIGHT once again

defamed your Petitioner with a harmful statement to further put her at risk by stating

that your petitioner filed false police reports which injures Black men. Filing false

Police Reports is a crime, and this accusation by this defendant accuses the

Petitioner of committing a crime – a blatant act of defamation. Further, and this

defendant is endangering Petitioner, by making these inciteful public claims against

Petitioner, which could motivate others to harm or endanger your Petitioner or her

loved ones.

       Also on May 24, 2021, Defendant TANISHA PRICE, posting online as

“Tpri”, appeared on defendant SHAKIM HARRIS’ online panel and stated: “I want

to address that bitch, Catherine Brown”, and then began hurling vulgarities towards

Petitioner for going to police and having defendant TCTV’s channels deleted

because he had attacked and sexually bullied Petitioner, conspired to extort her,




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harassed her and retaliated against her with vulgarity for going to police on to report

these acts.

       On July 24, 2021, defendant TANISHA PRICE, posting online as “Tpri”

stated online that Petitioner regularly files false police reports on people. In that

same posted video, this defendant stated that she had no idea what goes on in

“Ghost’s” (formerly TCTV) life. Yet she stated as fact that Petitioner had filed false

police reports on that other defendant (TCTV).

       Also on May 24, 2021, Petitioner first discovered that various defendants

and aligned actors, including TANISHA PRICE, have made email accounts using

Petitioner’s YouTube channel name and are then harassing other people with it,

further inciting negative and dangerous animus against the Petitioner.



                                               VI.

      Defendant ANDREA MICHELLE STEWART is an online actor that to

Petitioner’s understanding has used several aliases, including “ANTI AFRO

SVEGALIS” You Tube Channel, and/or “ANTI AFRO SVEGALIS CHANNEL”.

This defendant actor has online falsely accused Petitioner of filing false police

reports against herself and other defendants, usually in very race-based and specific

accusations and criticisms of your Petitioner which is totally false.

      These dangerous internet postings by this defendant actor pointedly

put your Petitioner at risk from others that could be motivated to injure or hurt

Petitioner with the false belief that Petitioner is intentionally acting to file and injure




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Black people by filing false complaints or YouTube removals against certain Black or

Race-Obsessed individual content posters.

      This defendant’s venue for posting her damaging and false attacks upon

Petitioner is https://www.youtube.com/channel/UCm5qc-XJ-tbj1vM-lSW7IgQ.

      The events and episodes dates involving this defendant’s threats,

defamation and damaging internet posts involving the Petitioner are as follows:

On July 22, 2021, per video evidence, this actor has online falsely accused Petitioner

of filing false police reports against herself and other defendants, usually in specific

accusations and criticisms of your Petitioner which are totally false. On July 22,

2021, per video evidence, this actor stated online that your Petitioner had called 911

and stated that Anti Afro Svengalis was an Aryan who harassing others whereas she

is a Black woman, not an Aryan. This is totally false, as Petitioner had made no such

telephone calls.

       On July 22, 2021, per video evidence, this actor made defamatory statements

concerning your Petitioner that your Petitioner is not innocent in the criminal situation

concerning TCTV and herself while at the same time stating that Anti Afro Svengalis

has no idea of what’s going on with this situation.

        Per video evidence dated July 4, 2021, this defendant compelled another

person, Anti Fraud Warrior (her internet organization) to state to his viewers that your

Petitioner, along with TCTV filed false charges against a Black man. This again is

totally false.

        These false, dangerous internet postings by this defendant actor ANDREA

MICHELLE STEWART have pointedly put your Petitioner at risk from others that



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could be motivated to injure or hurt Petitioner with the false belief that Petitioner is

intentionally acting to file and injure Black people by filing false Police Reports and

YouTube complaints or YouTube removals against certain Black or Race-Obsessed

individual content posters. Filing false Police Reports is a crime, and this defendant

is defaming your Petitioner in her online postings, as well as endangering her, by

making these public claims against Petitioner.

      In email dated June 3, 2021, defendant ANDREA MICHELLE STEWART

made a statement to police regarding Petitioner’s involvement with the criminal

complaint filed against TCTV by Petitioner. This defendant’s statement to police was

filled with false statements regarding Petitioner. This defendant told police that

Petitioner filed false report against defendant ANDREA MICHELLE STEWART with

the Wilmington, Delaware Police. This defendant further also told police that

Petitioner had filed false reports against online posters/trolls or participants AFW and

Lenon Honor. Defendant ANDREA MICHELLE STEWART went on to tell police that

because of Petitioner’s allegations to police that Petitioner Catherine Brown is a

“menace to mankind”.

      In video and public online posting dated October 2, 2021, defendant

ANDREA MICHELLE STEWART admitted that her affiliated “Anti Afro Svengalis”

troll group created and posted false narratives in order to foment vitriol and hatred

against innocent or unsuspecting parties, online participants and comment posters,

and that these trolls did so to create a sense of upset and unrest against disfavored

persons, such as your Petitioner. This admission by this defendant is consistent with




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the events and postings created online to create and continue the vitriol and hatred

directed at your Petitioner online this past year.



                                             VII.

      Defendant JONTE MILLER is an online actor that to Petitioner’s under-

standing has used several aliases, reasonably believed acting in concert with

defendant-aligned actors “THE GOOD GUYS” as well with defendant “SPOT3M

SHOT3M”, in furtherance of their attacks upon and harassment of the Petitioner,

this defendant has acted in furthering these defendants’ and others’ online attacks,

harassment and defamation of the Petitioner per video evidence dated September

29, 2021 and August 20, 2021. Petitioner in good faith believes that this defendant

can and will via Discovery reveal the real names and identities of many heretofore

unnamed defendants using aliases and nicknames, most particularly defendant-

aligned actor “SPOT3M SHOT3M”, also posting as “SPOTEM SHOTEM”.



                                          VIII.

      Defendant THERESA D. BRUNSON is to Petitioner’s understanding, the

attorney for and a collaborator with several defendant-aligned entities, including

“TCTV and “THE GOOD GUYS”, both entities which have been horribly aggressive

and threatening to Petitioner.

      On or about June 7, 2021, after the Petitioner’s complaints to Police

authorities and online regulators regarding the threats and harassment of her by

defendant TCTV, your Petitioner received from this particular defendant an actual



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written “Cease and Desist” Letter addressed to the Petitioner, instructing Petitioner

that all contact regarding defendant TCTV should be directed to her office, this

particular defendant THERESA D. BRUNSON asserting that she was the Attorney

for TCTV. This letter was followed up with a telephone conversation between this

defendant and the Petitioner, where this defendant explicitly warned your Petitioner

that her contacting YouTube and law enforcement to stop the harassment and

attacks upon her were examples of the Petitioner’s “negative behavior” in attempting

to “jail Black men”, and that your Petitioner should cease all such complaints or

seeking relief through those channels. These acts by this defendant was in tine and

substance an attempt by the defendant THERESA D. BRUNSON to intimidate and

scare your Petitioner into having her to discontinue complaints against defendant

TCTV for his online harassment of Petitioner. This explicitly warning and attempt to

intimidate your Petitioner into having her to discontinue complaints against defendant

TCTV for his online harassment of Petitioner, is an act by this particular defendant

THERESA D. BRUNSON is an act to intimidate your Petitioner and in furtherance of

these online actors’ illegal and damaging acts against your Petitioner.




                                             IX.

      Defendant-aligned actor ANTI FRAUD WARRIORS, LLC (“AFW”) are actually

a registered California limited liability corporation, which is reasonably believed by

the Petitioner to include as members or active participants the defendants and

aligned actors MINYANGO TOPKAH, THE ORACLE, TCTV, and others that this



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defendant has allowed to the well known AFW You Tube Channel venue to engage

in their continuing on-line public broadcasts to threaten, harass and intimidate your

Petitioner as described herein on those dates listed in the paragraphs describing

those tortuous and illegal acts of each such defendant and affiliate.

      This defendant-aligned actor AFW boasts in public broadcasts and postings

to be, to Petitioner’s understanding, consisting of many members and is a member-

run organization. Petitioner asserts here that these defendant-aligned actors AFW

and The Good Guys often broadcast their threats, videos and intimidation on You

Tube, then attempt to hide or delete evidence of their illegal acts by putting their

previously broadcasted videos or posts on “private” settings (once hundreds or even

thousands have seen them) or by deleting them all together.

    Petitioner has saved copies of video containing many of those activities sought

found actionable here, and in good faith believes that all related video tapes remain

in existence at the YouTube archives, which will be subpoenaed by Petitioner after

commencement of this litigation.

                                             X.

     Defendant-aligned actor TCTV is an online actor, either individual or entity,

that to Petitioner’s understanding has used several aliases, including “ANTI-FRAUD

WARRIOR” YouTube Channel, and/or “TCTV/TCTV 2.0/KING TALK

ENTERTAINMENT/GOOD GUY”. Petitioner reasonably believes that this defendant-

aligned actor is a dangerous or felon since he was a juvenile, as stated in his online

posted videos. This defendant-aligned actor brags online that he is a contemporary

“pimp” having fathered numerous children and multiple unwed mothers, and



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repeatedly makes unsolicited and unwelcome sexually explicit offers and insults to

your Petitioner, despite claiming to be currently married – again as stated in online

posted videos.

      Petitioner reasonably believes, from this defendant-aligned actor’s online

postings and hints and comments contained therein, that he is affiliated or paid to

make such attacks and harassment of your Petitioner by others, most likely

defendant TCTV, given his comments that he has been paid to harass and defame

Petitioner online. Petitioner has video evidence that the certain content creators get

PAID to “go after” targets online, and this defendant-aligned actor’s postings give

suspicion and support to Petitioner’s belief involving this defendant-aligned actor

being paid to harass and upset her, This defendant has also threatened to continue

to harass and attack and upset your Petitioner unless she agreed to give him money,

which is extortion and intimidation of your Petitioner in violation of both federal and

state law. Some incidents involving this defendant include:

       On or about May 19, 2021, a defendant-aligned actor known as “TCTV”, an

individual or multi-individual group entity, explicitly stated online that Petitioner’s life

“should not be protected within the black community” for her allegedly reporting to

law enforcement this defendant-aligned actor’s attempted extortion, harassment and

sexualized bullying of Petitioner.

    Per video evidence, specifically dated May 19, 2021, and also on

July 22, 2021 this defendant-aligned actor participated in numerous panels and

encouraged       and instigated others to harass harassment and makes defamatory

comments against your petitioner because she exhausted all other resources, hence



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sought police protection to have him stop harassing her and putting her safety at risk.

TCTV posts harassing comments and defamatory statements harassing and

threatening your Petitioner under the name “Ghost” as well as under the name “Good

Guy”, and from his statements as well as other statements and comments of others,

claims and is asserted here to have dozens of aligned and affiliated internet actors

additionally posting threats, defamatory statements and online intimidation of your

Petitioner.

      On May 24, 2021, TCTV once again sexually bullied Petitioner when on an

online panel with defendant Tpri, defendant-aligned actor TCTV stated that

Petitioner was interested in “cyber dick” (from him). On many occasions, TCTV

stated that the text messages Petitioner had sent to him (updating him on the

documentation that he eventually lied and said that I never presented) were actually

text messages of Petitioner asking this defendant for sex, and that he had rejected

Petitioner. All of this is untrue, embarrassing and defaming of your Petitioner.

      Petitioner believes in good faith that these harassing postings, insults, ridicule

and threats made to her by defendant-aligned actor TCTV are coordinated by the

several defendants due to postings and comments made by these defendants and

defendant-aligned actors, and that these threats pose real dangers to herself and

family, as well as her business associates and their families. Petitioner has

personally endured and witnessed ongoing threats, insults and defamation posted

online by defendants and defendant-aligned actor TCTV, Poetik Flakko, and their

affiliates, and others in recent months, and is able at any hearing able to provide to

this Court and law enforcement copies of videotape evidence of the online



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broadcasts by these and other defendants that have resulted in the defamation,

sexual harassment, threats and false narratives against your Petitioner, including an

episode where on or about March 8, 2021, the online YouTube channel “Vichi” stated

an online group chat full of other similar persons harassing your Petitioner the

following: “Where is Catherine Brown? I (Vichi) brought SKOL (chewing tobacco) so

that we can all spit on her”. This level of hatred was so heated within this group, and

was palpably so intense, that the Petitioner was profoundly upset and scared that

these threats would metastasize into larger more dangerous threats to her.

     On July 22, 2021, as memorialized in saved video-taped posted

video YouTube broadcasts, defendant TCTV, also known as GOOD GUY,

also known as Ghost, made additional false and harassing video broadcasts

targeting your Petitioner, implying that a false and baseless Police Report was filed

by your Petitioner against this defendant TCTV, and further went on to state that he

was “cleared of all wrongdoing (this is false, as Petitioner does not reasonably

believe this defendant to have been cleared of the complaints brought against him by

her for online harassment and defamation). This posting was broadcast by this

defendant, TCTV, in order to foment hatred and additional harassment of your

Petitioners by others affiliated or sympathetic to these actors, as well as his

harassments and previous race-based accusations made against the Petitioner, and

this posting led to additional threats and online harassment against your Petitioner.

      Per video evidence on July 22, 2021, your Petitioner went to an online

comment panel to inform “Ghost” and the viewers that she’d exhausted all efforts to

have “Ghost” desist his harassment, defamation, sexualized bullying and



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intimidation. Your petitioner clearly stated to “Ghost” that all of her efforts resulting in

more sexualized bullying by “Ghost” (TCTV). In YouTube broadcast video dated

July 22, 2021, in efforts to intimidate your Petitioner for going to police, actor “Ghost”

stated to your Petitioner that his name nor channel name should be on no police

reports.

     Per video evidence download on October 3, 2021, defendant-aligned actor

TCTV harassed Petitioner Catherine Brown with a sexually explicit term for going to

police on him. During the course of intimidating a witness involved in the case, TCTV

said, “Fuck that Bitch Catherine”.

     In video dated, June 24, 2021, TCTV and his lead affiliated online poster (troll)

by the alias name “Spotem Shotem”, stated on the TCTV’s “Good Guy” panel that

their targets victim(s) must pay in cash apps to be “caked for”. TCTV admonished

content creators who “cake for free”. The term “caked for” simply means that

targeted individuals should cash app content creators in order to be protected from

harassment by the content creators and the trolls.

        On July 13, 2021, defendant-aligned actor TCTV, reasonably believed here a

convicted felon, showed just how violent he is and what a danger he poses to who

he declares his enemy (male or female), as TCTV posted online videotape of

himself going to someone’s house to have a physical altercation with this person

over an argument they’d had on YouTube. TCTV’s run numerous false narratives on

Petitioner Catherine Brown to have her attacked, cyberbullied and harassed for not

giving him money. This memorialized by saved video evidence dated September 8,

2021.



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       On May 12, 2021, TCTV, per video evidence and email evidence, falsely

stated online that Petitioner had provided content creator (defendant) SHAKIM

HARRIS with information regarding an Anti Fraud Warrior rape of a student. On May

24, 2021, again per video evidence, Petitioner in comments online asked Shakim

Harris about this lie told by TCTV. Shakim Harris then online stated that he and

TCTV got into an argument concerning this lie and that TCTV was “on his own” with

spreading that false narrative.

                                            XI.

       Defendant-aligned actor “SCARLIT” is an online actor, either individual or

entity, that to Petitioner’s understanding has used several aliases, and has for an

extended period in the past twelve months has engaged in a series of harassing and

defamatory online postings and broadcasts which are illegal and tortuous, and which

the Petitioners seeks to have this Court find actionable here. Some of these

episodes and events as follows:

    Per snapshot evidence dated, February 22, 2021, on defendant-aligned actor

TCTV 2.0 (now deleted channel), online poster and Good Guys affiliate “SCARLIT” is

professed by comments and postings to be a “consort” of TCTV, also known as

“Good Guy” or “Ghost”. This defendant-aligned actor often identifies as a female

online poster claiming to be “Queen of His (TCTV’s) Chat”, but at other times uses

alternative male or female identifiers when posting online.

    Per email evidence dated March 11, 2021, “SCARLIT” uses numerous accounts

for which she trolls others to incite online cyber attacks against them or else keep the

attacks going, and with additional video evidence dated, August 22, 2021, reveals



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that actor SCARLIT for months posed as a married male with a wife and children that

he’d speak of fondly. She’d had many (including TCTV) deceived into believing that

she was, in fact, this male. It was not until months later, during the month of August,

that SCARLIT admitted (in live chat session) that for all of this time, she’d been

posting as this male, “Lorenzo Thomas”, a person believed here not to exist.

     Defendant-aligned actor SCARLIT frequently dated May 24, 2021 and

September 1, 2021, through Petitioner’s observations and firsthand knowledge,

creates other online accounts where this actor pretends to be the Petitioner, where

this actor harasses and antagonizes other persons online falsely claiming to be the

Petitioner, in order to incite hatred, revenge and violence by others against your

Petitioner.

    This activity is dangerous to your Petitioner, as such false postings by this actor

can reasonably create a climate and animus against your Petitioner which leads to

additional cyberbullying, threats, defamation, damage to her business endeavors and

those affiliated with her, as well as potential actual violence against your Petitioner.

Petitioner is in possession of video tape and printed internet postings that support

most of her attestations made above, as well as similar evidence regarding other

additional threats and postings by these defendants and defendant-aligned actor

defaming and threatening her, and profoundly upsetting her to the point of medical

injury and treatment, which she intends to seek in the very near future.

                                          XII.

      Defendant-aligned actor SLANDERGOD is an online actor, either individual




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or entity, that to Petitioner’s understanding has used several aliases, including

“POSITIVELY HATE”. This defendant-aligned actor is reasonably believed by your

Petitioner that the “SLANDERGOD” internet postings are a “spin off” channel of THE

GOOD GUYS, and that he was a former affiliate or member of defendant-aligned

actor “The Good Guys”. Petitioner has video evidence that POSITIVELY HATE’s

internet channel was set up specifically for harassment, doxing, and other related

attacks upon other YouTube viewers and other content creators (whoever they chose

to target). The defendant-aligned actor SLANDERGOD boasts online of having his

channel on “Slander Ave.”, and his repeated posts and attacks upon your Petitioner

and others prove this.

      This defendant-aligned actor has without Petitioner’s permission has used her

picture and posted it online, and has posted online attacks labeling the Petitioner and

her photo with the name label as “nutty bitch”, in order to intentionally harass and

defame her. Petitioner reasonably believes that this actor’s online channel is

operating at the following online address:

https://www.youtube.com/channel/UC0m71fAtGENqrGvo0aOz3rA

      Per his YouTube broadcast channel named “Positively Hate”, defendant-

aligned actor SLANDERGOD boasts online of having his YouTube channel on

“Slander Ave.”, and his repeated posts and personally harassing and defamatory

attacks upon your Petitioner and others prove this. Per video evidence dated July 16,

2021, this defendant-aligned actor was installed into the “Good Guys” internet troll

group by TCTV. Per video evidence dated September 8, 2021, this defendant-

aligned actor was referred to as a “brother” of the “Good Guys” by online personality



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Poetik Flakko (Defendant MINYANGO TOPKAH). Poetik Flakko further stated in

comments and online posts that he communicates with Slander God offline which

further solidifies the connection between Slander God and the “Good Guy” founder,

Poetik Flakko (Defendant MINYANGO TOPKAH).

     Per video evidence dated August 1, 2021, Poetik Flakko, “Good Guy”

founder sometimes hosts Slander God’s channel panel named Positively Hate.

Per video evidence dated May 24, 2021, this defendant-aligned actor has without

Petitioner’s permission has used her picture, and has posted online attacks labeling

the Petitioner and her photo with the name label as “nutty bitch”, in order to

intentionally harass and defame her and humiliate her by being a male referring to a

female as a “bitch”.   On May 24, 2021, this defendant-aligned actor, his chat room

members and panel members harassed your Petitioner in efforts to intimidate her for

going to police to seek protection from the torturous act inflicted upon her by “Good

Guys”.

                                           XIII.

     Defendant-aligned actor THE ORACLE is an online actor, either individual or

entity, THE ORACLE. Petitioner reasonable believes, by internet broadcasts and

postings by this defendant-aligned actor, that this defendant is an African-American

female, who has repeatedly attacked and defamed your Petitioner, by name,

spreading Race-Based attacks upon her intending to incite hatred of Petitioner by

falsely claiming that the Petitioner targets and falsely attempts to have defendant

TCTV reported and removed from continued internet attacks and threats against the

Petitioner. Petitioner reasonably believes, from defendant-aligned actor’s own



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postings and comments, that this actor is previous violent felon, who is very virulent

and aggressive in attacking your Petitioner online. This defendant-aligned actor once

continuously posted attacks upon your Petitioner online continuously for five hours,

in very profane and explicit race and sexually-based terms for going to YouTube

and/or the law enforcement authorities about the tortuous attacks upon her by

defendant TCTV. In starkly racial terms, this defendant-aligned actor has repeatedly

attacked Petitioner online for being “a double agent” or betrayer of her African-

American race.

      Defendant-aligned actor THE ORACLE is affiliated with the YouTube

Channel of “Good Guys” and former “Good Guy” either individual or entity, and

Petitioner reasonable believes, by internet broadcasts and postings by this

defendant-aligned actor that she is an African-American female, who has repeatedly

attacked and defamed your Petitioner, by name, spreading Hate-based attacks upon

her intending to incite hatred of Petitioner by falsely claiming that the Petitioner

targets and falsely attempts to have defendant-aligned actor TCTV reported and

removed from continued internet attacks and threats against the Petitioner.

Petitioner reasonably believes, from defendant’s own postings and comments, that

this actor is previous violent felon, who is very virulent and aggressive in attacking

your Petitioner online.

       On or about March 13, 2021, speaking on the panel of one of TCTV’s now

deleted channels, this defendant-aligned actor THE ORACLE once, continuously

waged attacks upon your Petitioner online for five hours, in very profane and explicit

race and sexually-based terms for going to YouTube and/or the law enforcement



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authorities about the tortuous attacks upon her by TCTV. In starkly racial terms, this

defendant-aligned actor has repeatedly attacked Petitioner online for being “a double

agent” or betrayer of the Pan-African ethnic group.

      These dangerous internet postings by THE ORACLE also puts Petitioner at

risk from others that could be motivated to injure or hurt Petitioner with the false

belief that Petitioner is intentionally acting to file and injure Black people by filing

false complaints or YouTube removals against certain Black or Race-Obsessed

individual content posters.

      These dangerous internet postings by this defendant-aligned actor also puts

Petitioner at risk from others that could be motivated to injure or hurt Petitioner with

the false belief that Petitioner is intentionally acting to file and injure Black people by

filing false complaints or YouTube removals against certain Black or Race-

Obsessed individual content posters.

                                              XIV.

      Defendant-aligned actor GENERAL D is another actor, either individual or

entity, believed to have instigated internet attacks upon Petitioner by others, all

sought stopped and sued for here, and is believed to have paid to the defendant

MINYANGO TOKPAH/ Poetik Flakko to harass Petitioner and to harass others.

This defendant-aligned actor frequently changes his online identity so that he goes

undetected by channel name. Petitioner has possession of video evidence of this

actor stating that he pays Poetik Flakko to host his YouTube Channel.

     GENERAL D is reasonably believed by Petitioner (per video evidence dated

August 16, 2021) to have instigated internet YouTube broadcasts and comment



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attacks upon Petitioner by others, those others named herein and also sought

stopped and sued for here, and is believed (due to this defendant’s online comments

and postings) and to have paid to defendant MINYANGO TOKPAH to harass

Petitioner and to harass others. On May 29, 2021, this defendant-aligned actor

posted comments online that knows “everything” about your Petitioner and has

posted online repeatedly that he has cyber stalked her with others. Again on May 29,

2021, when your Petitioner asked GENERAL D in an internet comment chat room if

he had doxed others online, GENERAL D and defendant MINYANGO TOKPAH (as

Poetik Flakko) stopped harassing her in that particular chat session and did not

reply. This defendant-aligned actor is believed by Petitioner to frequently change his

online identity so that he goes undetected by channel name. Per video evidence

dated August 16, 2021 this defendant actor stated that he pays defendant

MINYANGO TOKPAH (as Poetik Flakko) to host his channel to harass, intimidate

and to “destroy” the reputations of others, particularly and by name your Petitioner,

via YouTube Video postings by himself and affiliates.



                                           XVI.

     Defendant-aligned actor BLACK LOUNGE ENTERTAINMENT is another online

actor that is actually believed here to be named defendant TANISHA WRIGHT, or, is

an online actor or entity reasonably believed operated or otherwise aligned with

named defendant TANISHA WRIGHT, as well as either individuals and/or an aligned

or affiliated entity conducting a series of attacks and harassments of your Petitioner,

as an entity or on behalf of certain individuals, as explained above.



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      Petitioner reasonable believes, by internet broadcasts and postings by this

actor, that this defendant is an African-American female, likely defendant TANISHA

WRIGHT, who online also uses the alias of “TPriz” or “TPri”. This actor has

repeatedly attacked and defamed your Petitioner, by name, spreading Race-Based

attacks upon her intending to incite hatred of Petitioner by falsely claiming that the

Petitioner targets and falsely attempts to have Black men arrested and prosecuted,

which is entirely not true.

    Petitioner lists these actionable, false and damaging posting by this defendant-

aligned actor here, in this paragraph, as well as above in the paragraphs describing

the illegal and tortuous acts of defendant TANISHA PRICE. These false and

dangerous internet postings by this actor puts Petitioner at risk from others that could

be motivated to injure or hurt Petitioner with the false belief that Petitioner is

intentionally acting to file and injure Black men by filing false police reports against

Black Men. Petitioner reasonably believes that this actor’s YouTube channel is

“BLACK LOUNGE ENTERTAINMENT”.



                                             XVII.

      Defendant-aligned actor “SPOTEM SHOTEM”, also broadcasting and posting

online as “SPOT3MSHOT3M”, is an online actor, reasonably believed affiliated or

otherwise aligned with named defendants JONTE MILLER and POETIK FLAKKO.

“SPOT3MSHOT3M” is reasonably believed from his online postings and comments

to be affiliated with the “Good Guys”, and is an online “Troll” that is reasonably

believed by Petitioner to be a former “AFW” affiliated online “Troll”, as per previous



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online video evidence viewed and posted by this person or entity, and which has

been viewed firsthand by your Petitioner.

       This online video poster SPOT3MSHOT3M for at least the past year has

been broadcasting a series of false accusations and narratives against the Petitioner,

repeatedly defaming, humiliating, cyber-bullying, falsely claiming Petitioner to be a

drug abuser (calling her a crackhead dog while harassing her for going to police for

protection against TCTV), a fraud, and attempting to dehumanize your Petitioner in

online postings, such posting which have continued into September, 2021, often

posting reference to Petitioner by her initials, or by derogatory references that are

used repeatedly and known to the circle of online harassers of the Petitioner to

identify her. In video dated July, 11, 2021, this actor was hailed as the “best troll in

the sector” by one of the “The Good Guys” founders, and is reasonably believed

affiliated with the entity “The Good Guys”, and is believed a main affiliate or “troll”

acting in concert with the “The Good Guys” in harassing, defaming and threatening

your Petitioner. Per chat room comments by himself and others, personally

witnessed by the Petitioner and in her saved evidence and video evidence, this

defendant-aligned anchor has multiple accounts to harass and cyber-bully others

online and namely your Petitioner.


                                            XVIII.

     Petitioner, believes and asserts that the defendants and defendant-aligned

actors here, in their actions to harass, threaten, ridicule, defame and intentionally

upset the Petitioner – all as described above - are in violation of several Federal and




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State of Louisiana laws, as delineated below, and seeks relief on that basis. Those

laws asserted violated by these actors, and sought determined actionable by this

Court, include the following:

     US Code 18 Section 2261A:

     Whoever--
     (1) travels in interstate or foreign commerce or within the special maritime
     and territorial jurisdiction of the United States, or enters or leaves Indian
     country, with the intent to kill, injure, harass, or place under surveillance
     with intent to kill, injure, harass, or intimidate another person, and in the
     course of, or as a result of, such travel places that person in reasonable
     fear of the death of, or serious bodily injury to, or causes substantial
     emotional distress to that person, a member of the immediate family (as
     defined in section 115) of that person, or the spouse or intimate partner of
     that person; or
     (2) with the intent--
     (A) to kill, injure, harass, or place under surveillance with intent to kill,
     injure, harass, or intimidate, or cause substantial emotional distress to a
     person in another State or tribal jurisdiction or within the special maritime
     and territorial jurisdiction of the United States; or

     (B) to place a person in another State or tribal jurisdiction, or within the
     special maritime and territorial jurisdiction of the United States, in
     reasonable fear of the death of, or serious bodily injury to--
     (i) that person;
     (ii) a member of the immediate family (as defined in section 115 [1] of that
     person; or
     (iii) a spouse or intimate partner of that person;


     uses the mail, any interactive computer service, or any facility of interstate
     or foreign commerce to engage in a course of conduct that causes
     substantial emotional distress to that person or places that person in
     reasonable fear of the death of, or serious bodily injury to, any of the
     persons described in clauses (i) through (iii) of subparagraph (B); [2] shall
     be punished as provided in section 2261 (b) of this title.

     Section 2261 (B):
     (b) Penalties.-- A person who violates this section or section 2261A shall
     be fined under this title, imprisoned--
     (1) for life or any term of years, if death of the victim results;




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     (2) for not more than 20 years if permanent disfigurement or life
     threatening bodily injury to the victim results;

     (3) for not more than 10 years, if serious bodily injury to the victim results
     or if the offender uses a dangerous weapon during the offense;

     (4) as provided for the applicable conduct under chapter 109A if the
     offense would constitute an offense under chapter 109A (without regard to
     whether the offense was committed in the special maritime and territorial
     jurisdiction of the United States or in a Federal prison); and

     (5) for not more than 5 years, in any other case,or both fined and
     imprisoned.

     (6) Whoever commits the crime of stalking in violation of a temporary or
     permanent civil or criminal injunction, restraining order, no-contact order,
     or other order described in section 2266 of title 18, United States Code,
     shall be punished by imprisonment for not less than 1 year.


                                            XIX.

Additionally, defendants are asserted to be in violations as follows:


     United States Federal Law H.R. 3402:
     (1) Under the Federal Crime, we are preparing to seek Federal legal
     action and this immediate relief: (a) Cyber harassment, Cyber stalking,
     etc. in violation of the Women’s Violence Act, Department of Justice
     Reauthorization Act of 2005, H.R. 3402, titled "Preventing Cyber stalking"
     and numbered as Â§ 113, Â§113(a)(3) provides that Section 223(a)(1)(C)
     applies to "any device or software that can be used to originate
     telecommunications or other types of communications that are
     transmitted, in whole or in part, by the Internet; Cyber-stalking and Cyber-
     harassment laws in violation of the Communications Act, 47 U.S.C. Â§
     223(a)(1)(C) and Â§ 223(h)(1)(B). (b) H.R. 3402 INCLUDES CYBER:
     Slander, Libel and Harassment.


     Under Sec. 113. FEDERAL "Preventing Cyberstalking":
     To strengthen stalking prosecution tools, this section amends the
     Communications Act of 1934 (47 U.S.C 223)(h)(1) to expand the definition



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      of a telecommunications device to include any device or software that
      uses the Internet and possible Internet technologies such as voice over
      internet services. This amendment will allow federal prosecutors more
      discretion in charging stalking cases that occur entirely over the internet.




       Petitioner respectfully asserts here that the tortuous acts described by her

in this civil claim for damages is supported by the proposition that while an explicit

CIVIL cause of action for violation of the above-cited Federal statutes do not exist,

that the fact that the torts alleged and brought under state tort law, on the basis of

complete diversity jurisdiction, are also more appropriately brought in this Federal

District Court given the Federal CRIMINAL laws violated by the several defendants

and aligned actors herein creating civil causes of action brought here under State of

Louisiana tort law.

                                             XX.

       Petitioner again respectfully requests that this Federal District Court

accept jurisdiction of her Louisiana state law tort claims on the basis of complete

diversity jurisdiction.

      Nonetheless, the Petitioner prays that in the event that this Court declines to

exercise or maintain jurisdiction here over any defendant that is be found to be non-

diverse to the Petitioner’s domicile state of Delaware, that this Court then REMAND,

or dismiss without prejudice, ONLY those claims involving any non-diverse defendant

here, and allow the main focus and basis of her litigation involving her claims for

relief and damages to go forward here.




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      The defendant individuals and defendant-aligned actors and entities are

asserted here to also be vicariously liable here for any actions of any employees,

aligned persons or persons do directed or motivated by the named defendant

individuals and defendant-aligned actors and entities who act to damage and

otherwise injure your Petitioner, and that her claims and damages directly caused by

this intentional and/or reckless conduct by these individuals and entities were

motivated by actual defendants here as proven.

                                          XXI.

      These torts committed by the named defendants and aligned actors, and

fully described above, do rise to the level of extreme abusiveness and reasonable

presumed to inflict upon Petitioner the actors’ desired injury, and intent of the

defendant/actors to do same, which are actionable here as contemplated by the

Louisiana Supreme Court’s decision in White v. Monsanto Co., 585 So.2d 1205,

1209 (La. 1991) and it’s progeny, and additionally fall into the fact patterns and

circumstances where employers such as the named defendants may be found

vicariously liable to this Petitioner in tort for the acts and offenses committed by any

others named defendant and so motivated by other defendants, with those damages

and liability as contemplated by Martin v. Bigner, 665 So.2d 709, La.App. 2 Cir.

12/6/95, (La. App., 1995)

                                          XXII.

       Petitioner CATHERINE BROWN avers that as a result of the above

described actions of all named defendants, that she has separately suffered loss of

her employment/contracted position, loss of income, humiliation, shame, indignation



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and psychological injuries, as well as with her suffering profound emotional damages

incurred as a direct result of the defendants’ actions and omissions.

      Petitioner further asserts that these acts, committed in a common theme of

defamation, threats, harassment and stalking in violation of both Louisiana state law

and any appropriate civil remedy as per defendants’ violations of Federal criminal

statutes, all of these acts which represent an ongoing common pattern of continuing

torts, which are interconnected and continuing series of torts that are all actionable

here. Further, Petitioner asserts that any such related act or tort violation committed

by any defendant or aligned actor here that occurred MORE than one year prior to

this filing and outside of Louisiana’s one-year liberative prescriptive period, are

indeed interconnected to those torts and violations committed within the past one

year of the filing of this lawsuit, and that any such related or similar act found to have

occurred more than one year prior to the filing of this lawsuit, are therefore actionable

here pursuant to the state Continuing Tort Doctrine, as well as the federal Continuing

Violation Theory.




                                          XXIII.

       Petitioner CATHERINE BROWN makes here her set of claims under all

state laws applicable to such incidences involving victims of criminal violence,

threats, extortion or cyber-stalking, as well as the particular Louisiana Civil Code

Article 2315, which allows civil damages to be legally assessed against the

defendants, or in the alternative, as well as any affiliated individuals or employees, to



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petitioner for the acts and omissions, for those individual defendants’ or aligned

actors’ acts, omissions, negligence or intentional acts, and for those responsible to

be held financially accountable for all losses, damages and costs proven suffered by

the Petitioner herein. Petitioner thereby respectfully requests that she be awarded all

damages as may be appropriate under the circumstances, all of the above acts of

negligence were in violation of the laws of the State of Louisiana and applicable

Orleans Parish ordinances, which are hereby pleaded and adopted by this reference

as is set forth at point in extensio. Petitioner prays that in the interest of judicial

economy and consistency, that this federal court exercise it’s discretion in

maintaining it’s jurisdiction over the Petitioner’s state law claims brought here with

these federal question claims, as they involve the interrelated events, facts, parties

and witnesses, and that this Court, as a single finder of fact, should maintain and

assert it’s ancillary, pendant and supplemental jurisdiction here.

                                           XXIV.

       Petitioner CATHERINE BROWN avers that as a direct and proximate cause

of the aforementioned acts and omissions by these named defendants and aligned

actors, and any unnamed defendants herein, that your Petitioner has sustained

damages in disability in the following non-exclusive list of particulars:


A. All general and special damages awarded to your Petitioner as appropriate,

   including and for the following:

B. Past, present, and future emotional and mental anguish;




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C. Any appropriate costs of relocation or costs related to avoid the threats or

   exposure to injury or damages cited herein;

D. Past, present and future costs of medical care and treatment for Petitioner made

   necessary by defendants’ tortuous acts explained herein;

E. Past, present, and future lost wages, missed work, and damaged job and/or

   credit rating, and missed employment and/or educational opportunities due to lost

   past or future employment;

F. Compensation and any lost earnings, family time, leisure time, or personal rest

   opportunities, and any applicable awards or damages related to the injuries

   suffered by her as proven here;

G. Compensation for Defamation and damage to reputation, as well as future

   business opportunities and/or employment opportunities due to that defamation

   as alleged herein – with each act of publication and dissemination of slanderous

   or defaming statements made by any defendant to any third party being

   actionable and creating it’s own separate tort and damage herein;

H. Loss of reputation, employment prospects, employability, and all other related

   losses as caused by any defendant’s act of publication and dissemination of

   slanderous or defaming statements made by any defendant to any third party;

I. Compensation in both general damages and special damages involving injuries

   sustained by petitioner due to torts against her as to the delineated continuing

   mistreatment, and each and every separate act of any defendant engaging in the

   intentional and/or negligent infliction of emotional distress upon the Petitioner

   here as described above;



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J. Any appropriate compensation for defendants’ acts of slander, defamation and

   intentional damage to the reputation and future employability or business efforts

   of your Petitioner;

K. Loss of enjoyment of life, fear of her financial present and future; fear and upset

   to her present and future health, and all damages and losses flowing therefrom;

L. General damages flowing from those losses and injuries cited above;

M. Unpaid wages, earnings, penalty wages and all other statutorily appropriate

   awards or damages

N. Any possible attorney’s fees and all costs of these proceedings as allowed herein

   under any applicable federal or state law;

O. Any possible punitive damages as allowed herein under any applicable federal or

   state law;

P. All other damages and/or costs found reasonable through the rendering of this

   matter.




                                PRAYER FOR RELIEF

       WHEREFORE, your petitioner CATHERINE BROWN respectfully requests

that the defendants in this matter, that each be served with this Complaint/Petition,

as well as Temporary Restraining Order and request for Rule to Show Cause why

Preliminary Injunction against continued online threats, defamation and harassment

of your Petitioner by each defendant and all affiliated persons or entities should not

be immediately estopped and prohibited, and that the online entities Google and it’s



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YouTube branch be directed by Court order to discontinue allowing any defendant or

aligned entity from posting any additional online threats, defamation and harassment

of your Petitioner by each defendant and all affiliated persons or entities, that all

existing online threats, defamation and harassment of your Petitioner by each

defendant and all affiliated persons or entities be removed from view, and after due

proceedings be had their be a judgment in favor or your Petitioner, and against the

defendants, for all appropriate damages, costs, and losses suffered by your

petitioner herein, as well as for all costs of bringing these proceedings, judicial

interest from the date of judicial demand, as well as for any other award or remedy

as deemed equitable herein.



                              Sincerely,



                               Dominic N. Varrecchio
                               ____________________________________
                               DOMINIC N. VARRECCHIO. La. Bar No. 19456
                               Attorney for Petitioner
                               1539 Jackson Avenue, Suite 100
                               New Orleans, LA 70130
                               Phone No.: (504) 524-8600
                               Email: knic55@cox.net




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                         CERTIFICATE OF SERVICE

   I hereby certify that a copy of the above and foregoing, together with all
related pleadings involved in this filing, have been served upon all parties
and/or their counsel by the CM-ECF electronic filing system for the United
States District Court, as well via actual service of process of the related
Petition/Complaint, Request For Preliminary Injunction and Notice of Hearing
of Temporary Restraining Order upon those defendants of those items together
with Summons to Appear.
   Petitioner further has also served all related filings here via E-mail to all
defendants where E-mail addresses are available to Petitioner and Counsel, as
certified and explained in the attached Rule 65 Certification.
This 13th day of October, 2021.



                         Dominic N. Varrecchio
                        _________________________
                           DOMIINIC N. VARRECCHIO




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